
957 So.2d 181 (2007)
Beverly BURRELL
v.
The CONGREGATION OF ST. LUCY ROMAN CATHOLIC CHURCH, Houma, Louisiana.
No. 2007-CC-0798.
Supreme Court of Louisiana.
June 1, 2007.
In re Congregation of St. Lucy Roman Catholic Church, Houma, Louisiana;  Defendant; Applying for Supervisory and/or Remedial Writs, Parish of Terrebonne, 32nd Judicial District Court Div. C, No. 137-585; to the Court of Appeal, First Circuit, No. 2006 CW 2317.
Denied.
KNOLL, J., would grant.
